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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION
LABORERS’ PENSION FUND and          )
LABORERS’ WELFARE FUND OF THE       )
HEALTH AND WELFARE DEPARTMENT       )
OF THE CONSTRUCTION AND GENERAL )
LABORERS’ DISTRICT COUNCIL OF       )
CHICAGO AND VICINITY, and CATHERINE )
WENSKUS, Administrator of the       )
Funds.                              )
                       Plaintiffs,  )
                                    )
       v.                           )                       Case No.
                                    )
SYNERGY DEVELOPMENT LIMITED,        )
                                    )
                                    )
                       Defendant.   )
                                         COMPLAINT
       Plaintiffs Laborers’ Pension Fund and Laborers’ Welfare Fund of the Health and Welfare
Department of the Construction and General Laborers’ District Council of Chicago and Vicinity (the
“Funds”), and Plaintiff Catherine Wenskus (“Wenskus”), Administrator of the Funds, by their
undersigned attorneys, and for their Complaint against Defendant, Synergy Development Limited,
states as follows:
                                           COUNT I
                      (Failure To Pay Employee Benefit Contributions)
       1.      Jurisdiction is based on Sections 502(e)(1) and (2) of the Employee Retirement
Income Security Act of 1974 (“ERISA”), as amended, 29 U.S.C. §1132(e)(1) and (2); Section 301(a)
of the Labor Management Relations Act (“LMRA”) of 1947 as amended, 29 U.S.C. §185(a); and
28 U.S.C. §1331.
       2.      Venue is proper pursuant to Section 502(e)(2) of ERISA, 29 U.S.C. §1132(e)(2), and
28 U.S.C. §1391(a) and (b).
       3.      The Funds are multiemployer benefit plans within the meaning of Sections 3(3) and
3(37) of ERISA. 29 U.S.C. §1002(3) and 37(A). The Funds have offices, conduct business and
administer the plans within this District. Wenskus is the Administrator of the Funds, and has been
duly authorized by the Funds’ Trustees to act on behalf of the Funds in the collection of employer
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contributions owed to the Funds and to the Construction and General Laborers’ District Council of
Chicago and Vicinity Training Fund, and with respect to the collection by the Funds of amounts
which have been or are required to be withheld from the wages of employees in payment of Union
dues for transmittal to the Construction and General Laborers’ District Council of Chicago (the
“Union”). With respect to such matters, Wenskus is a fiduciary of the Funds within the meaning of
Section 3(21)(A) of ERISA, 29 U.S.C. § 1002(21)(A).
       4.      Defendant Synergy Development Limited (hereinafter “The Company”), is an Illinois
corporation doing business in Illinois. The Company does business within this District and is an
Employer within the meaning of Section 3(5) of ERISA, 29 U.S.C. §1002(5), and Section 301(a) of
LMRA, 29 U.S.C. §185(a). The Company has also been called First Corinthians 3:10 Cement
Works which is also an Employer within the meaning of Section 3(5) of ERISA, 29 U.S.C. §1002(5),
and Section 301(a) of LMRA, 29 U.S.C. §185(a).
       5.      The Union is a labor organization within the meaning of 29 U.S.C. §185(a). The
Union and the Company are parties to a collective bargaining agreement (“Agreement”). (A copy
of the “short form” Agreement entered into between the Union and the Company, which Agreement
adopts and incorporates a Master Agreement between the Union and various employer associations,
and also binds the Company to the Funds’ respective Agreements and Declarations of Trust, is
attached hereto as Exhibit A.)
       6.      The Funds have been duly authorized by the Chicago Laborers’ District Council
Retiree Health and Welfare Fund (“Retiree Welfare Fund”), the Construction and General Laborers’
District Council of Chicago and Vicinity Training Fund (the “Training Fund”), the Midwest
Construction Industry Advancement Fund (“MCIAF”), the Chicagoland Construction Safety Council
(the Safety Fund”), the Laborers’ Employers’ Cooperation & Education Trust (“LECET”), the
Contractors’ Association of Will and Grundy Counties (the “Will County Fund”), the Concrete
Contractors’ Association of Greater Chicago (“CCA”), the Chicago Area Independent Contractors
Association (“CAICA”), the Illinois Road Builders Association (“IRBA”), and the CDCNI/CAWCC
Contractors’ Industry Advancement Fund (the “Wall & Ceiling Fund”), the CISCO Uniform


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Drug/Alcohol Abuse Program (“CISCO”), the Laborers’ District Council Labor Management
Committee Cooperative (“LDCMC”), and the Illinois Small Pavers Association (“ISPA”) to act as
an agent in the collection of contributions due to those funds.
       7.       The Agreement further obligates the Company to cooperate with auditors designated
by the Funds in conducting payroll audits to assure that all required contributions have been made
to the Funds.
        8.      Notwithstanding the obligations imposed by the Agreement, the Company has failed
to fully cooperate as necessary with auditors designated by the Funds in the conduct of a payroll
audit for the period July 2, 2018 through the present.
       9.       The Company’s actions described above violate Section 515 of ERISA, 29 U.S.C.
§1145, and Section 301 of the LMRA. 29 U.S.C. §185.
       10.      Pursuant to Section 502(g)(2) of ERISA, 29 U.S.C. §1132(g)(2), and the terms of the
Funds’ Trust Agreements, the Company is liable to any amounts owed, as well as interest and
liquidated damages on unpaid contributions, reasonable attorneys’ fees and costs, and such other
legal and equitable relief as the Court deems appropriate.
       WHEREFORE, Plaintiffs Funds respectfully requests this Court enter a judgment against the
Company requiring the Company to submit to an audit; holding the Company liable for any amounts
owed to date together with all accrued delinquencies after suit, interest, liquidated damages,
attorneys’ fees and costs; requiring compliance with the granting such other and further relief as the
Court shall deem just in the premises.
                                            COUNT II
                                  (Failure To Pay Union Dues)
       11.      Plaintiff realleges paragraphs 1 through 8 of Count I.
       12.      Pursuant to the Agreement, the Funds have been duly designated to serve as collection
agents for the Union in that the Funds have been given the authority to collect from employers union
dues which have been deducted from the wages of covered employees.
       13.      Notwithstanding the obligations imposed by the Agreement, the Company has failed
to withhold and/or to report to and forward the union dues deducted or the Union dues that should
have been deducted from the wages of employees for the period from July 2, 2018 through the

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present, thereby depriving the Union of income.
       14.     Pursuant to the Agreement, the Company is liable to the Fund for the unpaid union
dues, as well as reasonable attorneys’ fees, as the Union’s collection agent, and costs, and such other
legal and equitable relief as the Court deems appropriate.
       15.     The Company’s actions have violated and are violating Section 301(a) of the LMRA,
29 U.S.C. § 185(a).
       WHEREFORE, Plaintiff respectfully requests that this Court enter a judgment against
Defendant, Synergy Development Limited for the amount of the Union dues owed to date together
with all attorneys’ fees and costs, and any other legal and equitable relief as the Court deems
appropriate.


                                                       By:     /s/Karen I. Engelhardt
                                                               Attorneys for Plaintiff

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